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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
               v.                        )    CAUSE NO. 3:08-CR-82(02) RM
                                         )
 KELSEY TRENT                            )


                                     ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on September 11, 2008.

 Accordingly, the court ADOPTS those findings and recommendations [docket #

 31], ACCEPTS defendant Kelsey Trent’s plea of guilty, and FINDS the defendant

 guilty of Count 2 of the Indictment, in violation of 21 U.S.C. § 841(a)(1) and 18

 U.S.C. § 2.

       SO ORDERED.

       ENTERED:      September 30, 2008



                                 /s/ Robert L. Miller, Jr.
                                Chief Judge
                                United States District Court
